Case 04-03774 Doc 61-1 Filed 09/15/06 Entered 09/18/06 08:38:10 Desc Proposed
Order Pagelof1

IN THE UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

VICKJ ESRALEW )
)
Debtor, )
__ _)
)
ROLLIN SOSKIN, et. al. }
)
Plaintiffs } No, 04 A 3774
)
Vv. ) Judge Goldgar
)
VICKI ESRALEW }
)
Defendant )
RDER

THIS CAUSE coming on to be heard upon the Motion of Defendant VICKT ESRALEW
to Continue the Trial Date in the above-captioned cause, due notice having been given to all
parties in interest and the Court being fully advised in the premises,

NOW THEREFORE, IT 18 HEREBY ORDERED THAT:

I. The December 11, 2006 Trial Date previously set herein is vacated,
2. This matter is set for tnal on
3. Defendant’s counsel, Carey M. Stein, of the firm Ashman & Stein, 150 North
Wacker Drive, Chicago, llinois, is granted leave to file his Appearance herein,
instantor.
Prepared By: ENTER:

Carey M. Stein

ASHMAN & STEIN #37710

Suite 3000 Bankruptcy Judge
Chicago, Ihinois 60606

312/782-3484

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